          Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 1 of 21




                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                       SAVANNAH DIVISION


REPUBLICAN NATIONAL
COMMITTEE and GEORGIA
REPUBLICAN PARTY, INC.,

             Plaintiffs,

     v.
                                           No. _____________________
THOMAS MAHONEY III,
MARIANNE HEIMES, TRISH
BROWN, JAMES HALL, and
GLYNDA JONES in their official
capacities as members of the
Chatham County Board of Elections;
SHERRI ALLEN, AARON V.
JOHNSON, MICHAEL HEEKIN,
TERESA K. CRAWFORD, and
JULIE ADAMS in their official
capacities as members of the Fulton
County Registration and Elections
Board; VASU ABHIRAMAN,
NANCY JESTER, ANTHONY
LEWIS, SUSAN MOTTER, and
KARLI SWIFT in their official
capacities as members of the DeKalb
County Board of Registration and
Elections; STEVEN F. BRUNING,
TORI SILAS, STACY EFRAT,
DEBBIE FISCHER, and JENNIFER
MOSBACHER in their official
capacities as members of the Cobb
County Board of Registration and
Elections; ALICE O’LENICK,
WANDY TAYLOR, LORETTA
MIRANDOLA, DAVID HANCOCK,
and ANTHONY RODRIQUEZ in
their official capacities as members

                                       1
           Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 2 of 21




of the Gwinnett County Board of
Registrations and Elections, DANNY
HOPE, DOROTHY FOSTER HALL,
CAROL WESLEY, PAT PULLAR,
and DOMINIQUE GRANT in their
official capacities as members of the
Clayton County Board of
Registrations and Elections,
HUNAID QADIR, ADAM SHIRLEY,
ROCKY RAFFLE, PATRICIA TILL,
and WILLA FAMBROUGH in their
official capacities as members of the
Clarke County Board of
Registrations and Elections,

              Defendants.


   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiffs the Republican National Committee and the Georgia

Republican Party, Inc., bring this action to challenge Defendants’ violations of

state election law that result in disparate treatment of Georgia voters:

                               INTRODUCTION

      1.     Under Georgia law, “the period of advance voting … shall end on

the Friday immediately prior to” the election. O.C.G.A. §21-2-385(d)(1)(B). The

law provides “that voting shall occur only on the days specified in this

paragraph and counties and municipalities shall not be authorized to conduct

advance voting on any other days.” Id.

      2.     Under Georgia law, “the term ‘absentee elector’ means an elector

of this state or a municipality thereof who casts a ballot in a primary, election,



                                         2
             Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 3 of 21




or runoff other than in person at the polls on the day of such primary, election,

or runoff.” O.C.G.A. §21-2-380.

        3.     The law is clear—the period of advance voting is over. But, that

hasn’t stopped Fulton, DeKalb, Cobb, Gwinnett, Athens-Clarke, Clayton, and

Chatham counties from announcing at the eleventh hour that they will open

this weekend and Monday for voters to return absentee ballots.

        4.     The county’s actions violate state law.

        5.     Worse, the county’s actions violate the Equal Protection Clause of

the Fourteenth Amendment by granting special privileges to voters of those

counties in violation of state law, thus arbitrarily and disparately affecting

against voters and candidates in other counties.

        6.     Worse still, the county’s actions violate the federal Elections

Clause by flouting the Georgia General Assembly’s regulations setting the

“Manner” of federal elections. U.S. Const. art. I, §4.

                           JURISDICTION AND VENUE

        7.     This Court has subject matter jurisdiction because this action

arises under the Constitution and laws of the United States. 28 U.S.C. §§1331,

1343.

        8.     Venue is proper because at least one Defendant resides in this

district and all Defendants are residents of Georgia, and because a substantial

part of the events giving rise to the claims occurred in this district. Id. §1391(b).


                                          3
            Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 4 of 21




                                    PARTIES

      9.      Plaintiff Republican National Committee (“RNC”) is the national

committee of the Republican Party, as defined by 52 U.S.C. §30101(14), with

its principal place of business at 310 First Street S.E., Washington D.C., 20003.

      10.     The RNC organizes and operates the Republican National

Convention, which nominates a candidate for President and Vice President of

the United States.

      11.     The RNC represents over 30 million registered Republicans in all

50 states, the District of Columbia, and the U.S. territories. It is comprised of

168 voting members representing state Republican Party organizations,

including three members who are registered voters in Georgia.

      12.     The RNC works to elect Republican candidates to state and federal

office. On November 5, 2024, its candidates will appear on the ballot in Georgia

for election to the Presidency and U.S. House of Representatives.

      13.     The RNC has vital interests in protecting the ability of Republican

voters to cast, and Republican candidates to receive, effective votes in Georgia

elections and elsewhere. The RNC brings this suit to vindicate its own rights

in this regard, and in a representational capacity to vindicate the rights of its

members, affiliated voters, and candidates.

      14.     The RNC also has an interest in preventing Defendants’ illegal

change of voting deadlines. By deciding at the last minute to keep their offices


                                        4
            Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 5 of 21




open over the weekend, the Defendants have extended early voting in violation

of statutory deadlines. The RNC relies on those deadlines to determines its

strategic plans and resources to devote to Georgia elections.

      15.     By changing the deadlines on the eve of the election, the

Defendants harm the RNC’s mission to turn out Republican voters and elect

Republican candidates.

      16.     Specifically, the RNC has determined the resources and strategies

it will need to maximize Republican turnout in Georgia based on current voting

rules and deadlines. Those strategies include ballot-chase programs and in-

person turnout efforts. By suddenly opening offices for absentee voting on the

final weekend before the election, Defendants harm the RNC’s strategies and

turnout efforts.

      17.     For example, the RNC engages in substantial efforts in

furtherance of ensuring the integrity of elections in which its candidates

compete and voters vote. Such efforts include assigning poll watchers to

observe any location where voting activities occur. Because of Defendants’

sudden addition of several days of absentee voting activities at election offices,

the RNC was forced to quickly mobilize staff and volunteers to ensure a poll

watcher presence at election offices across the Defendants’ counties. The time

and resources devoted to responding to Defendants’ unlawful actions came at




                                        5
            Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 6 of 21




the expense of other important RNC activities during the final weekend before

the election.

      18.     Moreover, in order to maintain competitive parity with its

Democratic opponents, the RNC must shift resources this weekend from other

mission-critical efforts to chase absentee ballots and encourage voters to return

them to the Defendants’ newly opened offices. If the RNC doesn’t shift those

resources, it will suffer a competitive disadvantage. If it does shift those

resources, it must sacrifice other activities that are critical to its mission of

turning out Republican voters and electing Republican candidates. Regardless,

the Defendants’ illegal actions harm the RNC’s ability to pursue its core

activities.

      19.     Plaintiff Georgia Republican Party, Inc. (“GAGOP”) is a political

party in Georgia. The Georgia Republican Party and its members exercise their

federal and state constitutional rights of speech, assembly, petition, and

association to develop statewide political organization, promote the Republican

Party platform, and secure the election of all duly nominated Republican

candidates.

      20.     The Georgia Republican Party has the same interests in this case

as the RNC and seeks to vindicate those interests in the same ways.

      21.     The RNC and GAGOP also bring this lawsuit on behalf of their

members and voters. Specifically, they bring this suit on behalf of Georgia


                                        6
            Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 7 of 21




voters and candidates who live, vote, or are running for office in counties other

than the Defendants’ counties. Those voters and candidates are being denied

equal protection under the law by Defendants’ unlawful extension of election

deadlines.

      22.     Defendants Sherri Allen, Aaron V. Johnson, Michael Heekin,

Teresa K. Crawford, and Julie Adams are members of the Fulton County Board

of Registration and Elections, which is the election superintendent for Fulton

County. The superintendent is charged with overseeing the conduct of Fulton

County elections and implementing laws and regulations, including managing

the process for absentee voting and tabulating valid absentee ballots. O.C.G.A.

§ 21-2-381; O.C.G.A. § 21-2-386(a)(2)(A). They are being sued in their official

capacities. Defendants principal place of business for conducting elections is

located at 5600 Campbellton Fairburn Road, Fairburn, GA 30213 and its

Government Center is Fulton County Government Center, 141 Pryor Street,

SW, Atlanta, GA 30303.

      23.     Defendants Vasu Abhiraman, Nancy Jester, Anthony Lewis,

Susan Motter, and Karli Swift are members of the DeKalb County Board of

Registration and Elections, which is the election superintendent for DeKalb

County. The superintendent is charged with overseeing the conduct of DeKalb

County elections and implementing laws and regulations, including managing

the process for absentee voting and tabulating valid absentee ballots. O.C.G.A.


                                        7
            Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 8 of 21




§ 21-2-381; O.C.G.A. § 21-2-386(a)(2)(A). They are being sued in their official

capacities. Defendants principal place of business for conducting elections is

located at 4380 Memorial Dr # 300, Decatur, GA 30032 and its Government

Center is 1300 Commerce Drive Decatur, GA 30030.

      24.     Defendants Steven Bruning, Tori Silas, Stacy Efrat, Debbie

Fischer, and Jennifer Mosbacher are the members of the Cobb County Board

of Registration and Elections, which is the election superintendent for Cobb

County. The superintendent is charged with overseeing the conduct of Cobb

County elections and implementing laws and regulations, including managing

the process for absentee voting and tabulating valid absentee ballots. O.C.G.A.

§ 21-2-381; O.C.G.A. § 21-2-386(a)(2)(A). They are being sued in their official

capacities. Defendants principal place of business for conducting elections is

located at 995 Roswell St NE, Marietta, GA 30060 and its Government Center

is 100 Cherokee St NE, Marietta, GA 30090.

      25.     Defendants Alice O’Lenick, Wandy Taylor, Loretta Mirandola,

David Hancock, and Anthony Rodriquez are members of the Gwinnett County

Board of Registration and Elections, which is the election superintendent for

Gwinnett County. The superintendent is charged with overseeing the conduct

of Gwinnett County elections and implementing laws and regulations,

including managing the process for absentee voting and tabulating valid

absentee ballots. O.C.G.A. § 21-2-381; O.C.G.A. § 21-2-386(a)(2)(A). They are


                                        8
            Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 9 of 21




being sued in their official capacities. Defendants principal place of business

for conducting elections is located at 455 Grayson Hwy #200, Lawrenceville,

GA 30046 and its Justice and Administration Center is 75 Langley Drive

Lawrenceville, GA 30046.

      26.     Defendants Thomas Mahoney III, Marianne Heimes, Trish Brown,

James Hall, and Glynda Jones are the members of the Chatham County Board

of Elections, which is the election superintendent for Chatham County. The

superintendent is charged with overseeing the conduct of Chatham County

elections and implementing laws and regulations, including managing the

process for absentee voting and tabulating valid absentee ballots. O.C.G.A. §

21-2-381; O.C.G.A. § 21-2-386(a)(2)(A). They are being sued in their official

capacities. Defendants principal place of business for conducting elections is

located at 1117 Eisenhower Drive, Suite F, Savannah, Georgia 31406 and its

Government Center is 124 Bull Street, Suite 210, Savannah, GA 31401.

      27.     Defendants Danny Hope, Dorothy Foster Hall, Carol Wesley, Pat

Pullar, and Dominique Grant are the members of the Clayton County Board of

Elections, which is the election superintendent for Clayton County. The

superintendent is charged with overseeing the conduct of Clayton County

elections and implementing laws and regulations, including managing the

process for absentee voting and tabulating valid absentee ballots. O.C.G.A. §

21-2-381; O.C.G.A. § 21-2-386(a)(2)(A). They are being sued in their official


                                        9
         Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 10 of 21




capacities. Defendants principal place of business for conducting elections is

located at 7946 North McDonough Street, Jonesboro, Georgia 30236.

      28.    Defendants Hunaid Qadir, Adam Shirley, Rocky Raffle, Patricia

Till, and Willa Fambrough are members of the Clarke County Board of

Elections which is the election superintendent for Clarke County. The

superintendent is charged with overseeing the conduct of Clarke County

elections and implementing laws and regulations, including managing the

process for absentee voting and tabulating valid absentee ballots. O.C.G.A. §

21-2-381; O.C.G.A. § 21-2-386(a)(2)(A). They are being sued in their official

capacities. Defendants principal place of business for conducting elections is

located at 2555 Lexington Road, Athens, Georgia 30605.

                               ALLEGATIONS

      29.    Georgia law provides for a period of “advance voting” that “shall

end on the Friday immediately prior to each … election.” O.C.G.A. §21-2-385

(d)(1)(B).

      30.    The legal deadline for the end of advance voting in Georgia was

Friday, November 1, 2024.

      31.    Georgia law mandates that advance voting “shall occur only on the

days” up until Friday, November 1, 2024, and “counties and municipalities

shall not be authorized to conduct advance voting on any other days.” O.C.G.A.

§21-2-385 (d)(1)(B).


                                      10
          Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 11 of 21




      32.     However, the Fulton County Registration and Elections Board

publicly announced that “election offices around Fulton County will be opened

throughout the weekend to accommodate voters seeking to hand-return their

absentee ballots.” Elections Office to Maintain Extended Hours Through the

Weekend,      FULTON     CNTY.    REG.    &   ELEC.     BD.   (Nov.   1,     2024),

https://perma.cc/W2J2-5CJR.

      33.     Consequently, advance voting is continuing in Fulton County past

the November 1, 2024 statutory deadline and extending through the weekend

of November 2-3, 2024.

      34.     The Gwinnett County Registration and Elections Board has

publicly announced that “[t]welve advance polling locations will be open daily,

including Saturday and Sunday, for the November 5 General Election from

7:00am to 7:00pm.” Advance Voting for General Election, Gwinnett Cnty. Reg.

& Elec. Bd., https://www.gwinnettcounty.com/departments/elections.

      35.     Consequently, advance voting is continuing in Gwinnett County

past the November 1, 2024 statutory deadline and extending through the

weekend of November 2-3, 2024.

      36.     The Chatham County Board of Elections is allowing advance

voting to continue on Saturday, November 2, 2024, and Monday, November 4,

2024. Chatham County Voter Registration Office to Accept Completed Absentee

Ballots     through   Election   Day,    WTOC   (Nov.    1,   2024,   4:13    PM),


                                         11
        Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 12 of 21




https://www.wtoc.com/2024/11/01/chatham-county-voter-registration-office-

accept-completed-absentee-ballots-through-election-day/.

     37.   Consequently, advance voting is continuing in Chatham County

past the November 1, 2024 statutory deadline and extending through

November 4, 2024.

     38.    The Cobb County Registration and Elections Board has publicly

announced that “Absentee by Mail Ballots for the November 5, 2024 General

Election will be accepted this weekend” on “Saturday, Nov. 2, 2024” and

“Sunday, Nov. 3, 2024.” Cobb County Elections Accepting Absentee by Mail

Ballots This Weekend, Cobb Cnty. Reg. & Elec. Bd. (Oct. 29, 2024),

https://www.cobbcounty.org/events/cobb-county-elections-accepting-absentee-

mail-ballots-weekend.

     39.   Consequently, advance voting is continuing in Cobb County past

the November 1, 2024 statutory deadline and extending through the weekend

of November 2-3, 2024.

     40.   The DeKalb County Board of Registration and Elections is

allowing advance voting to continue “on Saturday and Sunday from 8 a.m. to

3 p.m. and on Monday from 8 a.m. to 5 p.m.” Meimei Xu, Several Metro Atlanta

Elections Offices to Open This Weekend and Monday for Absentee Ballot Drop

Off, WABE (Nov. 1, 2024), https://www.wabe.org/several-metro-atlanta-




                                     12
          Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 13 of 21




elections-offices-to-open-this-weekend-and-monday-for-absentee-ballot-drop-

off/.

        41.   Consequently, advance voting is continuing in DeKalb County past

the November 1, 2024 statutory deadline and extending through the weekend

of November 2-3, 2024.

        42.   However, upon information and belief, many other Georgia

counties will not have locations open for advance voting through the weekend

of November 2-3, 2024, including Clayton County, Georgia. Id.

        43.   The dates of November 2-4, 2024, are outside the advanced voting

period authorized by Georgia law. O.C.G.A. §21-2-385 (d)(1)(B).

        44.   Georgia law further provides that certain “building[s]” that are

“generally accessible to the public” shall serve the “purpose of advance voting.”

O.C.G.A. §21-2-382(a).

        45.   However, upon information and belief, only some of the buildings

that serve the purpose of advance voting in the Georgia counties allowing

advance voting to continue on the dates of November 2-4, 2024, will remain

open.

        46.   On November 2, 2024, Plaintiffs informed Defendants of their legal

violations, requested that the Defendants cease their illegal conduct, and that

the Defendants take steps to sequester ballots and preserve evidence in

anticipation of litigation.


                                       13
          Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 14 of 21




                             CAUSES OF ACTION

                               COUNT I
  42 U.S.C. §1983 – Violation of the Equal Protection Clause of U.S.
                    Constitution (Amend. XIV, §1)

      47.    Plaintiffs incorporate all their prior allegations.

      48.    42 U.S.C. §1983 authorizes suits for the deprivation of a right

secured by the Constitution or the laws of the United States caused by a person

acting under the color of state law.

      49.    “Undeniably the Constitution of the United States protects the

right of all qualified citizens to vote….” Reynolds v. Sims, 377 U.S. 533, 554

(1964).

      50.    “Having once granted the right to vote on equal terms, the State

may not, by later arbitrary and disparate treatment, value one person's vote

over that of another.” Bush v. Gore, 531 U.S. 98, 104-05 (2000).

      51.    The Equal Protection Clause of the Fourteenth Amendment thus

guarantees qualified voters a right to participate equally with other qualified

voters in the electoral process. See Reynolds, 377 U.S. 533, 566 (1964)

(“Diluting the weight of votes because of place of residence impairs basic

constitutional rights under the Fourteenth Amendment just as much as

invidious discriminations based upon factors such as race….”); Dunn v.

Blumstein, 405 U.S. 330, 336 (1972) (“[A] citizen has a constitutionally

protected right to participate in elections on an equal basis with other citizens


                                        14
         Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 15 of 21




in the jurisdiction.”); Harper v. Va. Bd. of Elections, 383 U.S. 663, 665 (1966)

(“[O]nce the franchise is granted to the electorate, lines may not be drawn

which are inconsistent with the Equal Protection Clause of the Fourteenth

Amendment.”).

      52.   “Equal protection applies” to the right to vote, “as well to the

manner of its exercise.” Bush, 531 U.S. at 104.

      53.   The Equal Protection Clause also “ensure[s] that qualified voters

are given an equal opportunity to participate in elections.” Fla. State Conf. of

N.A.A.C.P. v. Browning, 522 F.3d 1153, 1185–86 (11th Cir. 2008) (Barkett, J.,

concurring in part, dissenting in part) (collecting cases). The Clause prohibits

“arbitrary and disparate treatment of [the State’s] citizens based on their

county of residence.” Id.

      54.   The Defendants’ actions result in disparate voting opportunities

for Georgia voters based solely on their county of residence. Voters in counties

that are not opening their offices this weekend are thus “less likely to cast

effective votes” because they have fewer days to do so. Wexler v. Anderson, 452

F.3d 1226, 1232 (11th Cir. 2006).

      55.   The arbitrary treatment is even more egregious because it is the

result of Defendants’ violation of state law, not an ambiguity or gap in state

law. Some election rules “reasonably provide for jurisdiction-by-jurisdiction

variation.” Election Integrity Project Cal., Inc. v. Weber, 113 F.4th 1072, 1091


                                      15
          Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 16 of 21




(9th Cir. 2024). But here, the Defendants have violated a state law that

provides for uniformity. In doing so, they are arbitrarily treating voters in their

counties differently than voters in other counties.

      56.    In short, the Equal Protection Clause’s “Uniformity Principle”

articulated in Bush v. Gore “generally forbids states or election officials from

providing materially different treatment to similarly situated groups of voters

participating in the same election.” Michael T. Morley, Bush v. Gore's

Uniformity Principle and the Equal Protection Right to Vote, 28 Geo. Mason L.

Rev. 229, 261 (2020).

      57.    Defendants’ actions under color of law violate the Equal Protection

Clause.

                                    COUNT II

Ex Parte Young – Violation of the Equal Protection Clause of the U.S.
                   Constitution (Amend. XIV, §1)

      58.    Plaintiffs incorporate all their prior allegations.

      59.    Ex parte Young permits suits for prospective relief against state

officials acting in violation of federal law. 209 U.S. 123 (1908). Under Ex parte

Young, “a suit alleging a violation of the federal constitution against a state

official in his official capacity for injunctive relief on a prospective basis is not

a suit against the state, and, accordingly, does not violate the Eleventh

Amendment.” Grizzle v. Kemp, 634 F.3d 1314, 1319 (11th Cir. 2011). The



                                         16
         Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 17 of 21




doctrine permits injunctions against “ongoing and continuous violations of

federal law.” Summit Med. Assocs., P.C. v. Pryor, 180 F.3d 1326, 1337 (11th

Cir. 1999).

      60.     Ex parte Young permits injunctive relief against the Defendants

because the Defendants state officials named in their official capacities, the

Defendants are currently violating federal law, and the Plaintiffs seek

prospective relief.

      61.     As explained in Count I, the Defendants are currently engaging in

actions that violate the Equal Protection Clause.

                                    COUNT III

     42 U.S.C. §1983 – Violation of the Elections Clause of the U.S.
                              Constitution
                         (U.S. Const. art. 1, §4)

      62.     Plaintiffs incorporate all their prior allegations.

      63.     The Elections Clause provides that: “The Times, Places and

Manner of holding Elections for Senators and Representatives, shall be

prescribed in each State by the Legislature thereof.” U.S. Const. art. 1, § 4, cl.

1. (emphasis added).

      64.     The Elections Clause is an “express delegation[] of power,” U.S.

Term Limits, Inc. v. Thornton, 514 U.S. 779, 804 (1995), that grants state

legislatures the exclusive “authority to provide a complete code” for federal

elections, Smiley v. Holm, 285 U.S. 355, 366 (1932).


                                         17
         Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 18 of 21




      65.   Only the Georgia General Assembly, and not a county board, has

the authority to establish the state’s deadline for advance voting in the

November federal election. The Georgia General Assembly has done this by

unambiguously requiring that advance voting “shall end on the Friday

immediately prior to each… election,” which was November 1, 2024. O.C.G.A.

§21-2-385 (d)(1)(B). The General Assembly has not delegated authority to the

county boards to alter that uniform rule.

      66.   Defendants’    “attempt     to   re-write   the   laws    governing

the deadlines” for advance voting in Georgia’s 2024 federal election are

consequently “invalid.” Carson v. Simon, 978 F.3d 1051, 1060 (8th Cir. 2020).

“[I]t is not the province” of a county official “to re-write the state’s election

code.” Id. By “setting the schedule for the elections” in a different manner than

the one prescribed by the General Assembly, Defendants are “acting in a role

assigned and entrusted by the Constitution to the legislature.” Valenti v.

Mitchel, 790 F. Supp. 551, 555 (E.D. Pa. 1992), aff’d, 962 F.2d 288, 297 (3d Cir.

1992).

      67.   Defendants’ “plan” to receive and count ballots “after the deadline”

established by the Georgia General Assembly “necessarily means that

otherwise invalid ballots will be entered in the vote totals that determine

whether the Electors will be elected or not.” Carson, 978 F.3d at 1060.




                                       18
         Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 19 of 21




      68.     Defendants’ violation of the Elections Clause consequently will

directly injure the Republican candidates whom Plaintiffs represent and who

are seeking election in Georgia. These Republican candidates “have a

cognizable interest in ensuring that the final vote tally accurately reflects the

legally valid votes cast. An inaccurate vote tally is a concrete and

particularized injury to candidates.” Carson, 978 F.3d at 1058. They are

“harmed” by Defendants’ receipt and counting of ballots in violation of state

law. Trump v. Wisconsin Elections Comm’n, 506 F. Supp. 3d 620, 632 (E.D.

Wis. 2020).

      69.     Since Defendants’ extension of the advance voting period will

cause them to receive and count ballots up to three days after the statutory

deadline for advance voting, Defendants are violating Georgia election law,

and their actions must be declared invalid under the Elections Clause of the

United States Constitution. U.S. Const. art. 1, § 4, cl. 1.

                              COUNT IV
     Ex Parte Young – Violation of the Elections Clause of the U.S.
                             Constitution
                        (U.S. Const. art. 1, §4)

      70.     Plaintiffs incorporate all their prior allegations.

      71.     Ex parte Young permits suits for prospective relief against state

officials acting in violation of federal law. 209 U.S. 123 (1908). Under Ex parte

Young, “a suit alleging a violation of the federal constitution against a state



                                         19
         Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 20 of 21




official in his official capacity for injunctive relief on a prospective basis is not

a suit against the state, and, accordingly, does not violate the Eleventh

Amendment.” Grizzle, 634 F.3d at 1319. The doctrine permits injunctions

against “ongoing and continuous violations of federal law.” Summit Med.

Assocs., 180 F.3d at 1337.

      72.     Ex parte Young permits injunctive relief against the Defendants

because the Defendants state officials named in their official capacities, the

Defendants are currently violating federal law, and the Plaintiffs seek

prospective relief.

      73.     As explained in Count III, the Defendants are currently engaging

in actions that violate the Elections Clause and Electors Clause.

                              PRAYER FOR RELIEF

      Plaintiffs request entry of a judgment granting:

            a. A declaratory judgment that Defendants violated the Equal

              Protection Clause of the Fourteenth Amendment to the U.S.

              Constitution;

            b. A declaratory judgment that Defendants violated the Elections

              Clause of Article I, §4 of the U.S. Constitution.

            c. A temporary, preliminary, and permanent injunction prohibiting

              Defendants from accepting ballots at election offices between

              November 2 and November 4;


                                         20
  Case 4:24-tc-05000 Document 136 Filed 11/03/24 Page 21 of 21




  d. A temporary, preliminary, and permanent injunction requiring

     Defendants to segregate ballots returned in person to election

     offices between November 2 and November 4;

  e. A temporary restraining order and preliminary injunction

     granting the relief specified above during the pendency of this

     action;

  f. Plaintiffs’ reasonable costs and expenses, including attorneys’

     fees; and

  g. All other preliminary and permanent relief that Plaintiffs are

     entitled to, and that the Court deems just and proper.

Respectfully submitted this 3rd day of November, 2024.

                                    /s/ Mark A. Bandy
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                               21
